           Case 2:19-cv-00261-RFB-DJA Document 32 Filed 01/22/21 Page 1 of 1



 1

 2

 3                              UNITED STATES DISTRICT COURT
 4                                     DISTRICT OF NEVADA
 5                                                ***
 6    CHARLES E. MCDONALD,                                  Case No. 2:19-cv-00261-RFB-CWH
 7                                       Petitioner,
             v.                                                        ORDER
 8
      BRIAN WILLIAMS, et al.,
 9
                                      Respondents.
10

11          Good cause appearing, IT IS HEREBY ORDERED that Respondents’ unopposed first
12   Motion for Enlargement of Time (ECF No. 31) is GRANTED. Respondents have until March 31,
13   2021, to answer the Amended Petition for Writ of Habeas Corpus (ECF No. 14) in this case.
14          DATED this 22nd day of January, 2021.
15

16
                                                           RICHARD F. BOULWARE, II
17                                                         UNITED STATES DISTRICT JUDGE
18

19
20

21

22

23

24

25

26

27

28


                                                       1
